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 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                  Case No. 2:12-cr-00004-APG-GWF
                                               )
10   vs.                                       )                  ORDER
                                               )
11   ANDREI BOLOVAN,                           )
                                               )
12                     Defendant.              )
     __________________________________________)
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14          This matter is before the Court on Defendant Bolovan’s Ex Parte Motion and Order to
15   Access C-Cap Database (#825) filed October 8, 2014. Upon review and consideration,
16          IT IS HEREBY ORDERED that Defendant Bolovan’s Ex Parte Motion and Order to
17   Access C-Cap Database (#825) is granted. Counsel for Defendant Bolovan is allowed access to C-
18   CAP Database to view, print, copy, and download and share with the defense team materials
19   pertaining to Defendant’s case for purposes of preparing for trial, to the same extent that counsel
20   for co-defendants have or had access to the C-CAP database.
21          DATED this 9th day of October, 2014.
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23                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
24                                                 United States Magistrate Judge
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